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                     Exhibit 3
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            Infringement Claim Chart for U.S. Pat. No. US10237420 v. Snap Inc (“Defendant”)
   Claims                                                 Evidence

20. A method     The Snap Inc platform with system-generated Searching Service performs a method of
of processing    processing requests.
requests,        For Example, Snap Inc Searching Service receive user request, process them, and provides
comprising:      needed information right at the system. So, it helps you find what you're looking for and
                 stay in control of what you see.




                 Source: https://investor.snap.com/about-snap/default.aspx




                 Source: https://investor.snap.com/search-results/default.aspx?SearchTerm=snap

                                                   1
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                 Source: https://values.snap.com/privacy/your-information




                 Source:    https://blog.hootsuite.com/how-to-use-snapchat-beginners-guide/#:~:text=On
                 %20Snapchat%2C%20you%20can%20search,add%20them%20as%20a%20friend.




                 Source:      https://www.adweek.com/social-marketing/snapchat-trends-details-the-most-
                 popular-keywords-being-used-by-snapchatters/

estimating at    The Snap Inc platform with system-generated Searching Service estimates at least one
least      one   content-specific or requestor-specific characteristic associated with each received request.
content-         For Example, Snap Inc estimates at least one content-specific (i.e., search query
specific         parameters (what the user looking for)) or requestor-specific (user's intent) characteristic


                                                   2
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or requestor-   associated with each received request.
specific
characteristic
associated with
each received
request;



                Source: https://values.snap.com/privacy/your-information




                Source:      https://www.adweek.com/social-marketing/snapchat-trends-details-the-most-
                popular-keywords-being-used-by-snapchatters/




                Source:    https://blog.hootsuite.com/how-to-use-snapchat-beginners-guide/#:~:text=On
                %20Snapchat%2C%20you%20can%20search,add%20them%20as%20a%20friend.




                                                   3
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                    Source: https://values.snap.com/privacy/your-information

determining         The Snap Inc platform with system-generated Searching Service determines a set of
availability of a   available
plurality      of   alternate target resources, each having at least one respective target characteristic.
alternate targe     For Example, Snap Inc uses natural language understanding technologies to understand
t resources,        what is being requested and on the basis of this, determine resources (content) on the
each                characteristic such as current availability and query matching of the resources.
respective targ
et resource
having at least
one
respective targ
et characteristi
c;                  Source: https://eng.snap.com/device-distributed-machine-learning




                                                      4
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                Source: https://investor.snap.com/search-results/default.aspx?SearchTerm=snap




                Source:    https://blog.hootsuite.com/how-to-use-snapchat-beginners-guide/#:~:text=On
                %20Snapchat%2C%20you%20can%20search,add%20them%20as%20a%20friend.


evaluating,   The Snap Inc platform with system-generated Searching Service evaluates, with
with at least the automated processor, a plurality of alternate allocations of the respective received
one automated request with different available targets, according to a ranking dependent on

                                                  5
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processor,      a   a probabilistic predictive multivariate evaluator, based on the at least one content-specific
plurality      of   or requestor-specific characteristic, and the respective target characteristics of the plurality
alternate           of alternate target resources.
allocations of      For Example, Snap Inc uses the content-specific or requestor-specific characteristics of the
the respective      request and the availability and characteristics parameters of the target resources to
received            evaluate a plurality of alternate allocations of the respective received request with different
request     with    available resources via artificial intelligence techniques such as neural networks and
different           machine learning.
available targe
ts, according to
a        ranking
dependent on
a probabilistic
predictive mult
ivariate evalua     Source: https://eng.snap.com/device-distributed-machine-learning
tor, based on
the at least
one     content-
specific
or requestor-
specific
characteristic,
and          the
respective targ
et characteristi
cs     of    the
plurality      of
alternate targe     Source: https://eng.snap.com/machine-learning-snap-ad-ranking
t resources;
and




                                                        6
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                Source: https://eng.snap.com/device-distributed-machine-learning




                Source: https://eng.snap.com/machine-learning-snap-ad-ranking




                Source: https://eng.snap.com/machine-learning-snap-ad-ranking


generating       The Snap Inc platform with system-generated Searching Service generates a control signal,
a control signal by the automated processor, selectively dependent on the evaluating, to control the
, by the at allocations of the respective received request with the different available targets.

                                                   7
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least               For Example, responsive to the evaluation, Snap Inc generates a control signal for
one automated       the allocation of the different available resources. The control signal is selectively
processor,          dependent on the evaluation in view of other factors such as the overall throughput of the
selectively         system and the priority and requirements of other concurrent requests.
dependent on
the evaluating,
to control the
allocations of
the respective
received
                    Source: https://eng.snap.com/device-distributed-machine-learning
request      with
the     different
available targe
ts.




                    Source: https://investor.snap.com/search-results/default.aspx?SearchTerm=snap




                                                      8
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   Source: https://eng.snap.com/device-distributed-machine-learning




   Source:    https://blog.hootsuite.com/how-to-use-snapchat-beginners-guide/#:~:text=On
   %20Snapchat%2C%20you%20can%20search,add%20them%20as%20a%20friend.




                                     9
